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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ALEXANDER KESTENBAUM and
STUDENTS AGAINST ANTISEMITISM,
INC.,
                                                           Case No. 1:24-cv-10092-RGS
                              Plaintiffs,

v.

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                    Defendant.


     JOINT MOTION FOR ENTRY OF ORDER OF DISMISSAL WITH PREJUDICE
                       PURSUANT TO RULE 41(A)(2)

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), and by joint motion, Plaintiff

Students Against Antisemitism Inc. (“SAA”) and Defendant President and Fellows of Harvard

College (“Harvard,” and, with SAA, the “Settling Parties”) hereby move for an order dismissing

SAA’s claims against Harvard with prejudice, and respectfully request that the Court enter the

attached Proposed Order of Dismissal with Prejudice.

       In support of this motion, the Settling Parties state that Harvard and SAA have entered

into a confidential settlement agreement that fully and finally resolves all claims between them.

Harvard has also entered into a separate confidential settlement agreement with The Louis D.

Brandeis Center for Human Rights Under Law and the Brandeis Center’s membership group,

Jewish Americans for Fairness in Education, which fully and finally resolves all claims in the

related litigation pending before this Court: The Louis D. Brandeis Center for Human Rights

Under Law and Jewish Americans for Fairness in Education v. President and Fellows of

Harvard College, No. 1:24-cv-11354-RGS (D. Mass.). The parties to that case have filed a
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Stipulation of Dismissal in that case today. Public announcements detailing the terms of these

settlements are attached to this motion as Exhibits A and B.

       These settlements reflect a commitment by Harvard to undertake important actions to

combat antisemitism on its campus, building on measures it has implemented over the past year.

The settlements align with Harvard’s commitment to combating antisemitism and ensuring that

its Jewish and Israeli students are welcome and able to thrive on its campus and that complaints

of discrimination and harassment against Jewish and Israeli students are treated in the same

manner and with the same urgency as all protected groups.

       In accordance with this commitment and consistent with Harvard’s existing Non-

Discrimination and Anti-Bullying Policies (“NDAB”), which prohibit discrimination on the basis

of ancestry, religion, national origin, or political beliefs, the settlement agreements incorporate as

the governing definition of antisemitism the International Holocaust Remembrance Alliance

(“IHRA”) definition including the accompanying examples applied in the manner described in

guidance issued by the Department of Education’s Office for Civil Rights in 2021 and 2024.

Harvard will also issue a Frequently Asked Questions document that will provide examples of

conduct—including discriminatory or harassing conduct that targets Jews, Israelis, or Zionists—

that may violate the NDAB.

       Harvard has further agreed to prepare a public annual report covering Harvard’s response

to discrimination or harassment based on Title VI-protected traits (the first of which will include

a lookback at disciplinary responses to NDAB complaints based on allegations of antisemitism

since October 2023), and to hire a designated individual within its Office for Community

Conduct (“OCC”) who will consult on all complaints of antisemitism and supervise the

preparation of the annual reports required under both settlements, which will catalog Harvard’s
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response to complaints based on allegations of antisemitism, consistent with FERPA, and assess

Harvard’s treatment of such complaints against its treatment of complaints based on allegations

of other forms of bias. The OCC director will also ensure that Title VI and Harvard’s NDAB

policies will be enforced equally, applying a single standard for all students, including Jewish

and Israeli students

       Pursuant to the agreements, Harvard will also commit additional resources to the study of

antisemitism including by hosting an annual symposium on the topic of antisemitism at

American universities and establishing an official partnership with a university in Israel, in

addition to the programs the University currently has in place with Israeli universities; conduct

training for both students and staff on how to recognize and combat antisemitism, including

expert training addressing the IHRA definition of antisemitism including accompanying

examples to all OCC staff involved in reviewing complaints of discrimination; and provide

monetary relief to certain SAA members.

       Harvard has not admitted to any wrongdoing or liability in resolving either litigation.

       Plaintiff Alexander (Shabbos) Kestenbaum, who is represented by new counsel, is not a

party to either settlement; his claim for compensatory damages remains pending but he “lacks

standing to pursue prospective injunctive relief.” See Dkt. No. 93 at 10 & n.7.

       NOW, THEREFORE, pursuant to Federal Rule of Civil Procedure 41(a)(2), the Settling

Parties hereby move, by and through their respective counsel, that SAA’s claims against Harvard

be dismissed with prejudice.
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Dated: January 21, 2025                     Respectfully submitted,

By: /s/ Felicia H. Ellsworth                By: /s/ Marc E. Kasowitz

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                            LOCAL RULE 7.1 CERTIFICATION

       The undersigned hereby certifies that on January 20, 2025, counsel for Harvard conferred

with counsel for Plaintiff Alexander Kestenbaum in a good faith attempt to resolve or narrow the

issues involved in this motion, and that the parties did not reach an agreement.


                                                             /s/ Felicia H. Ellsworth
                                                             Felicia H. Ellsworth



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2025, I caused this document to be filed through the

CM/ECF system, where it will be sent electronically to the registered participants as identified

on the Notice of Electronic Filing.


                                                             /s/ Felicia H. Ellsworth
                                                             Felicia H. Ellsworth
